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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

 

WITOLD BAGINSKI : CIV. A. 2:17-cv-05320-JLL-LAD
Plaintiff, :
¥.
JOINT DISCOVERY PLAN
BOROUGH OF WALLINGTON, et al.
Defendants.
1, Set forth a factual description of the case. Include the causes of action and affirmative

defenses asserted.

Plaintiff's Allegations and Causes of Action
This is an action pursuant to 1) the New Jersey Conscientious Employee Protection Act

(“CEPA”), NASA. 34:19-1 ef seg., to remedy unlawful retaliation; i1) V.7S.A. 40A:9-165; 111) the
Civil Rights Act, 42 U.S.C. Sections 1981 ef seg., 1983 et seq., and 1985 et seq.; and the New
Jersey Civil Rights Act, N/.S_A. 10:6-1, ef seg.

Defendants’ Affirmative Defenses

Defendant Borough of Wallington is a municipality of the State of New Jersey and a
public entity pursuant to N.J.S.A. 59:1-1 et. seq. Defendants Eugeniusz Rachelski, Khaldoun
Androwis, Melissa Dabal, and Bryan Olkowski were at relevant times herein duly elected
council members in the Borough of Wallington acting at all relevant times herein in accordance
with their statutory duties as council members. Defendants deny all material liability allegations
while asserting various affirmative defenses. Defendants assert that all employment decisions
regarding Plaintiff were made in good faith, based on proper, legitimate, constitutional, non-
discriminatory reasons for the betterment of the Borough of Wallington. The Borough of
Wallington Defendants assert that they are entitled to Qualified Immunity and Absolute Immunity

for all employment decisions as to Plaintiff and his pleaded causes of action.
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Have settlement discussions taken place? Yes No XXX

If so, when?

 

(a) What was plaintiffs last demand?

(1) Monetary demand: $
(2) Non-monetary demand:

(b) What was defendant’s last offer?

(1) Monetary offer: $
(2) Non-monetary offer:

The parties [have -have not_ XX] exchanged the information required by
Fed. R. Civ. P. 26(a}(1). If not, state the reason therefor.

Parties will serve Rule 26 disclosures by December 14, 2017.

 

Describe any discovery conducted other than the above disclosures.
None thus far.
Generally, dispositive Motions cannot be filed until the completion of discovery.

Describe any Motions any party may seek to make prior to the completion of
discovery. Include any jurisdictional Motions and Motions to Amend.

None thus far.

The parties proposed the following:

(a)
(b)
(c)
(d)
(e)
(f)
(g)
(h)
(i)
Q)
(k)

Discovery is needed on the following subjects: hability, damages
Should discovery be conducted in phases? If so, explain: no.
Number of Interrogatories by each party to each other party: 25
Number of Depositions to be taken by each party: 10

Plaintiff's expert report due on November 30, 2018.

 

Defendant’s expert report due on December 30, 2018.

 

Motions to Amend or to Add Parties to be filed by _January 15, 2018.
Dispositive motions to be served within 45 days of completion of discovery.

Factual discovery to be completed by December 30, 2018.

 

Expert discovery to be completed by January 31, 2018.

Set forth any special discovery mechanism or procedure requested, including
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data preservation orders or protective orders:

(1) A pretrial conference may take place on

 

{m) Triai by jury or non-jury Trial? Jury

 

{n) Trial date:

7, Do you anticipate any discovery problem(s)? Yes No xx
if so, explain.

8. Do you anticipate any special discovery needs (i.e., videotape/telephone depositions,
problems with out-of state witnesses or documents, etc.)? Yes No Xx

Discovery Confidentiality Order

9. State whether this case is appropriate for voluntary arbitration (pursuant to L. Civ. R.
201.1 or otherwise), mediation (pursuant to L. Civ. R. 301.1 or otherwise),
appointment of a special master or other special procedure. If not, explain why and
state whether any such procedure may be appropriate at a later time (ie., after
exchange of pretrial disclosures, after completion of depositions, after disposition of
dispositive motions, etc.).

Not at this time. Mediation may be appropriate after completion of discovery.

 

10. Is this case appropriate for bifurcation? Yes No XX
lt. We fdo donot XX] consent to the trial being conducted by a Magistrate
Judge.

Dated: November 16, 2017

/s/ Robert A. Tandy
Robert A. Tandy, Esq.

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Counsel for Defendant Borough of Wallington
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/s/ Scott K. Seelagy

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